
670 S.E.2d 238 (2008)
STATE of North Carolina
v.
Arthur O. ARMSTRONG.
No. 509P06-3.
Supreme Court of North Carolina.
December 11, 2008.
Arthur O. Armstrong, Pro Se.
Patricia A. Duffy, Assistant Attorney General, C. Colon Willoughby, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 9th day of May 2008 in this matter for a writ of certiorari to review the order of the Superior Court, Wake County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 11th day of December 2008."
